            Case 6:15-bk-01933-KSJ         Doc 100     Filed 04/20/18     Page 1 of 1



                                       ORDERED.


     Dated: April 20, 2018




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
                                  www.flmb.uscourts.gov

In Re:                                                       Case No. 6:15-bk-01933-KSJ
                                                             Chapter 7
MIRIAM C. RIVKIND,

            Debtor.
__________________________/

                   ORDER OVERRULING LIMITED OBJECTION
            TO THE FINAL REPORT OF TRUSTEE, CARLA P. MUSSELMAN

         THIS CASE came on for hearing on April 17, 2018, at 11:00 a.m., on the Notice of Final

Report of Trustee and Applications for Compensation and Deadline to Object (NFR) (Doc. No. 96)

and the Limited Objection to the Final Report of Trustee, Carla P. Musselman filed by Creditor,

Jeena Tomasheski ("Objection") (Doc. No. 97). After considering the Objection and the arguments

of counsel and being otherwise fully advised in the premises, it is

         ORDERED that the Objection (Doc. No. 97) is OVERRULED.



Bradley M. Saxton is directed to serve a copy of this Order on interested parties who do not receive
service by CM/ECF and file a proof of service within three days of entry of the Order.
